   IN THE DISTRICT COURT OF THE UNITED STATES

                         for the Western District of New York
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                                                          APRIL 2021 GRAND JURY
                                                          (Impaneled April 14, 2021)

 THE UNITED STATES OF AMERICA                             INDICTMENT

           -vs-                                           Violations:

 TONY KIRIK a/k/a                                         Title 18, United States Code,
                                                          Sections 2, 371, 1001(a), 1028A(a)(1),
   Anatoliy Kirik                                         and 1519
                                                          (8 Counts)

                                        INTRODUCTION


                                   The Grand Jury Charges That:

          At all times relevant to this Indictment:

          1.       The defendant, TONY KIRIK a/k/a Anatoliy Kirik (“KIRIK”), owned and

managed a trucking business located at 105 McLaughlin Road, Rochester, New York, in the

Western District of New York, which transported goods for customers across the United

States.        KIRIK operated his trucking business using various corporate entities, including

Orange Transportation Services, Inc. (“Orange Transportation Services”) and Dallas

Logistics, Inc. (“Dallas Logistics”), that were interstate motor carriers regulated by the

Federal Motor Carrier Safety Administration (“FMCSA”).

          2.       Person 1 and Person 2, individuals known to the Grand Jury, were employed

at KIRIK’s trucking business.
       3.     The FMCSA was an agency of the United States Department of Transportation

(“USDOT”), and part of the executive branch of the Government of the United States. It had

jurisdiction over, and regulated, motor carriers that operated in interstate commerce.

Regulated motor carriers were required to provide truthful and accurate information about

their businesses and operations to the FMCSA, and were subject to periodic audits,

compliance reviews, and inspections by the FMCSA.

       4.     A motor carrier operating in interstate commerce must have obtained a

USDOT number, which was a unique identifier that aided the FMCSA in collecting and

monitoring safety and other information. To obtain a USDOT number, a motor carrier must

have completed and submitted, and periodically updated, under penalties of perjury, Form

MCS-150, Motor Carrier Identification Report. In addition, many motor carriers must have

obtained a MC Number from the USDOT, which was used to determine, among other things,

the type(s) and level(s) of insurance required. To obtain a MC Number, a motor carrier must

have completed, under penalties of perjury, Form OP-1, Application For Motor Property

Carrier And Broker Authority.

       5.     The FMCSA assigned one of four possible safety ratings to a motor carrier:

Unrated, Satisfactory, Conditional, and Unsatisfactory. When a new motor carrier was first

established, it was assigned a rating of Unrated until the FMCSA completed a safety review.

A rating of Satisfactory meant that the motor carrier had adequate safety management

controls to meet the safety fitness standard. A rating of Conditional meant that the motor

carrier did not have adequate safety management controls in place to meet the safety fitness

standard. A rating of Unsatisfactory meant that the motor carrier did not have adequate safety

management controls in place and had negative occurrences.
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       6.     A motor carrier’s safety rating affected its insurance rates and ability to compete

for business. An Unrated motor carrier was eligible for more favorable insurance rates than

a Conditional motor carrier which had a documented history of safety concerns.

       7.     To prevent motor carriers from concealing poor safety records by changing

legal names and entities, motor carriers were required to identify to the FMCSA affiliated or

reincarnated entities. Notably, the safety rating of a new affiliated or reincarnated motor

carrier entity remained the same as its predecessor entity and was not Unrated.


                                         COUNT 1
                                        (Conspiracy)

                          The Grand Jury Further Charges That:

       1.     The allegations contained in the Introduction are realleged and incorporated

herein by reference.

                           OBJECTS OF THE CONSPIRACY

       2.     Between in or about October 2012 and in or about January 2018, the exact

dates being unknown to the Grand Jury, in the Western District of New York, and elsewhere,

the defendant, TONY KIRIK a/k/a Anatoliy Kirik, did knowingly, willfully and unlawfully

combine, conspire and agree with Dallas Logistics, Person 1, Person 2, and others known and

unknown to the Grand Jury,

       (a)    to defraud the United States and the FMCSA, an agency of the United States,

by interfering with and obstructing by means of deceit, craft, and trickery, the lawful and

legitimate governmental functions and rights of the FMCSA, that is, the regulation of motor

carriers that operated in interstate commerce, the collection of truthful and accurate

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information from regulated motor carriers, and the conducting of periodic audits, compliance

reviews, and inspections of motor carriers;

and to commit the following offenses against the United States, that is,

        (b)   in matters within the jurisdiction of the FMCSA, an agency within the

executive branch of the Government of the United States, to knowingly and willfully (i)

falsify, conceal and cover up, by trick, scheme and device, material facts; (ii) make materially

false, fictitious and fraudulent statements and representations; and (iii) make and use false

writings and documents knowing the same to contain materially false, fictitious and

fraudulent statements and representations, in violation of Title 18, United States Code,

Section 1001(a); and

        (c)   to knowingly alter, destroy, mutilate, conceal, cover up, falsify and make a false

entry in any record, document and tangible object with the intent to impede, obstruct and

influence the investigation and proper administration of matters within the jurisdiction of the

FMCSA, an agency of the United States, in violation of Title 18, United States Code, Section

1519.

        3.    The objects of the conspiracy were for KIRIK and others, by using false and

fraudulent statements, representations and documents, to conceal from the FMCSA that

Dallas Logistics was owned and managed by KIRIK, was part of KIRIK’s trucking business,

and was affiliated with the other corporate entities used by KIRIK in his trucking business,

including Orange Transportation Services. KIRIK concealed from the FMCSA that Dallas

Logistics was part of KIRIK’s trucking business so that the FMCSA would not link Dallas

Logistics with Orange Transportation Services and other affiliated entities and assess it with

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a Conditional safety rating. By obtaining a more favorable safety rating, Dallas Logistics

lowered its costs, including insurance premium expenses, and increased its revenue from

customers, some of whom were unwilling to use a motor carrier with a Conditional safety

rating.


                    MEANS AND METHODS OF THE CONSPIRACY

          The objects of the conspiracy were accomplished through the following means and

methods:

          11.   After Orange Transportation Services received a Conditional safety rating from

the FMCSA, resulting in higher operating costs and lower revenue from its customers, KIRIK

established Dallas Logistics and operated his trucking business as Dallas Logistics.

          12.   To avoid having Dallas Logistics inherit the Conditional safety rating assigned

to Orange Transportation Services and other affiliated entities, KIRIK and others

misrepresented to the FMCSA that Dallas Logistics was a separate and independent trucking

business not affiliated with KIRIK’s trucking business.

          13.   KIRIK and others were able to conceal from the FMCSA that Dallas Logistics

was affiliated with KIRIK’s trucking business by (a) falsely claiming that Person 1 was the

owner and president of Dallas Logistics; (b) falsely representing that Dallas Logistics was first

located in Texas, and later at a false address in Rochester, New York; and (c) filing false and

fraudulent forms with the FMCSA.

          14.   On or about May 5, 2016, after KIRIK decided to fire Person 1, KIRIK caused

Person 1 to execute legal documentation that purported to transfer ownership of Dallas

Logistics from Person 1 to KIRIK.
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                                      OVERT ACTS

       In furtherance of the conspiracy, and to effect the objects of the conspiracy, the

following overt acts, among others, were committed in the Western District of New York,

and elsewhere:

       15.    On or about October 23, 2012, KIRIK caused Form OP-1 (Application For

Motor Property Carrier And Broker Authority) for Dallas Logistics to be submitted to the

FMCSA, purportedly signed by Person 1, which falsely and fraudulently stated that Dallas

Logistics’ principal address was in Dallas, Texas, and that Dallas Logistics did not have any

relationship with any other FMCSA regulated entity within the past 3 years.

       16.    On or about October 23, 2012, KIRIK caused Form MCS-150 (Motor Carrier

Identification Report) for Dallas Logistics to be submitted to the FMCSA, purportedly signed

by Person 1, which falsely and fraudulently represented that Dallas Logistics’ principal

address was in Dallas, Texas.

       17.    On or about March 11, 2014, KIRIK caused Person 1, during a meeting in

Dallas, Texas, with an FMCSA representative conducting a new entrant safety audit for

Dallas Logistics, to deceive the FMCSA representative into believing that Dallas Logistics

was an independent trucking business based in Texas and was not affiliated with Orange

Transportation Services or any other FMCSA regulated entity.

       18.    On or about March 26, 2014, and on or about February 26, 2015, KIRIK

caused updated Forms MCS-150 for Dallas Logistics to be submitted to the FMCSA, which

falsely and fraudulently represented that Dallas Logistics’ principal address was in Dallas,

Texas, and that Person 1 was the President of Dallas Logistics and had signed the forms.


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       19.    On or about October 23, 2015, KIRIK caused an updated Form MCS-150 for

Dallas Logistics to be submitted to the FMCSA, which falsely and fraudulently represented

that Dallas Logistics’ principal address was in Carrolton, Texas, and that Person 1 was the

President of Dallas Logistics and had signed the form.

       20.    Between on or about October 23, 2015, and on or about November 2, 2015, the

exact dates being unknown to the Grand Jury, KIRIK caused Person 1 to travel to Texas to

meet with an FMCSA Investigator conducting a compliance review of Dallas Logistics in

order to deceive the FMCSA Investigator about Dallas Logistics, including the location of its

principal address and its management and control.

       21.    On or about November 2, 2015, and on or about April 25, 2016, KIRIK caused

updated Forms MCS-150 for Dallas Logistics to be submitted to the FMCSA, which falsely

and fraudulently represented that Dallas Logistics’ principal address was 25 Pixley Industrial

Parkway, Gates, New York, and that Person 1 was the President of Dallas Logistics and had

signed the forms.

       22.    Between on or about April 26, 2016, and on or about May 16, 2016, the exact

dates being unknown to the Grand Jury, KIRIK caused Person 2 and others to set up a sham

office for Dallas Logistics at 25 Pixley Industrial Parkway, Gates, New York, in order to

deceive an FMCSA Investigator conducting a compliance review of Dallas Logistics into

believing that Dallas Logistics’ principal address was 25 Pixley Industrial Parkway, Gates,

New York, and that Dallas Logistics was not affiliated with or related to any of the other

regulated entities KIRIK used to operate his trucking business, including Orange

Transportation Services.


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         23.    On or about April 26, 2016, KIRIK caused Person 2 to meet with an FMCSA

Investigator and falsely represent, among other things, that Dallas Logistics was Person 1’s

business, that Person 1 controlled it, and that its principal address was at 25 Pixley Industrial

Parkway, Gates, New York.

         24.    On or about April 26, 2016, KIRIK caused Person 2 to prepare and sign a letter,

on Dallas Logistics letterhead, to a FMCSA Investigator that falsely represented Dallas

Logistics’ principal address was 25 Pixley Industrial Parkway, Gates, New York, and falsely

claimed that the reason Dallas Logistics had originally been reported to the FMCSA as a

Texas-based business was that Person 1 intended to relocate to Texas, but that his mother

became seriously ill, followed by his father, which prevented Person 1 from relocating to

Texas.

         25.    On or about January 11, 2018, KIRIK caused Person 2 to testify before a federal

grand jury as the designated “records custodian” for KIRIK’s business entities, and to falsely

claim that “[i]t was never concealed” from the FMCSA and the USDOT that Dallas Logistics

and Orange Transportation Services were in fact run out of New York.


         All in violation of Title 18, United States Code, Section 371.


                                        COUNT 2
                             (False Document – Form MCS-150)

                           The Grand Jury Further Charges That:

         1.     The allegations in the Introduction and Count 1 are realleged and incorporated

herein by reference.



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       2.     On or about April 25, 2016, in the Western District of New York, and

elsewhere, the defendant, TONY KIRIK a/k/a Anatoliy Kirik, in a matter within the

jurisdiction of the executive branch of the Government of the United States, did knowingly

and willfully make and use a false writing and document knowing the same to contain

materially false, fictitious and fraudulent statements and representations.

       3.     Specifically, KIRIK did prepare and submit, and did cause to be prepared and

submitted, to the FMCSA, a Form MCS-150 for Dallas Logistics which stated and

represented that (a) Dallas Logistics’ principal address was 25 Pixley Industrial Parkway,

Gates, New York; (b) Person 1 was the President of Dallas Logistics; and (c) Person 1 had

personally signed the form, whereas, as KIRIK well knew and believed (a) Dallas Logistics’

principal address was 105 McLaughlin Road, Rochester, New York; (b) Person 1 was not the

President of Dallas Logistics but instead was a figurehead executive only; and (c) Person 1

had not in fact personally signed the form.

       All in violation of Title 18, United States Code, Sections 1001(a)(3) and 2.


                                          COUNT 3
                         (Falsification of Record – Form MCS-150)

                          The Grand Jury Further Charges That:

       1.     The allegations in the Introduction and Counts 1 and 2 are realleged and

incorporated herein by reference.

       2.     On or about April 25, 2016, in the Western District of New York, and

elsewhere, the defendant, TONY KIRIK a/k/a Anatoliy Kirik, did knowingly conceal, cover

up, falsify and make a false entry in a record and document, that is, a Form MCS-150 for


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Dallas Logistics, with the intent to impede, obstruct and influence the investigation and

proper administration of a matter within the jurisdiction of the FMCSA, an agency of the

United States.


       All in violation of Title 18, United States Code, Sections 1519 and 2.


                                          COUNT 4
                                  (False Document – Letter)

                            The Grand Jury Further Charges That:

       1.        The allegations in the Introduction and Count 1 are incorporated herein by

reference.

       2.        On or about April 26, 2016, in the Western District of New York, and

elsewhere, the defendant, TONY KIRIK a/k/a Anatoliy Kirik, in a matter within the

jurisdiction of the executive branch of the Government of the United States, did knowingly

and willfully make and use a false writing and document knowing the same to contain

materially false, fictitious and fraudulent statements and representations.

       3.        Specifically, KIRIK did prepare and submit, and did cause to be prepared and

submitted to the FMCSA, a letter on Dallas Logistics letterhead, signed by Person 2, that

stated and represented that (a) Dallas Logistics’ address was 25 Pixley Industrial Parkway,

Gates, New York; (b) Dallas Logistics was created as a Texas-based business in order to be

run from Texas; and (c) Person 1 intended to relocate to Texas, but was unable to do so

because his mother became seriously ill, followed later by Person 1’s father, and that “based

on these circumstances, Dallas Logistics remains in New York”, whereas, as KIRIK well

knew and believed (a) Dallas Logistics’ address was 105 McLaughlin Road, Rochester, New

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York; (b) Dallas Logistics was not created to be a Texas-based trucking company run from

Texas; and (c) Person 1 never intended to relocate to Texas to operate Dallas Logistics.


       All in violation of Title 18, United States Code, Sections 1001(a)(3) and 2.


                                           COUNT 5
                               (Falsification of Record – Letter)
                          The Grand Jury Further Charges That:

       1.     The allegations in the Introduction and Counts 1 and 4 are realleged and

incorporated herein by reference.

       2.     On or about April 26, 2016, in the Western District of New York, and

elsewhere, the defendant, TONY KIRIK a/k/a Anatoliy Kirik, did knowingly conceal, cover

up, falsify and make a false entry in any record and document, that is, a letter on Dallas

Logistics letterhead, signed by Person 2, with the intent to impede, obstruct and influence the

investigation and proper administration of a matter within the jurisdiction of the FMCSA, an

agency of the United States.


       All in violation of Title 18, United States Code, Sections 1519 and 2.


                                       COUNT 6
                        (False Statements to FMCSA Investigator)

                          The Grand Jury Further Charges That:


       1.     The allegations in the Introduction and Count 1 are realleged and incorporated

herein by reference.




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       2.     On or about April 26, 2016, the exact date being unknown, in the Western

District of New York, the defendant, TONY KIRIK a/k/a Anatoliy Kirik , in a matter within

jurisdiction of the executive branch of the Government of the United States, did knowingly

and willfully make, and cause to be made, materially false, fictitious and fraudulent

statements and representations.

       3.     Specifically, KIRIK directed Person 2 to make false statements and

representations to an FMCSA Investigator who was performing a compliance review of

Dallas Logistics that (a) Dallas Logistics was Person 1’s business; (b) Person 1 controlled

Dallas Logistics; (c) Dallas Logistics was intended to operate out of Texas; and (d) because

Person 1’s parents fell ill, Person 1 was unable to relocate to Texas to run Dallas Logistics;

whereas, as KIRIK well knew and believed (a) Dallas Logistics was not actually Person 1’s

business; (b) Person 1 did not control Dallas Logistics; (c) Dallas Logistics was never intended

to operate out of Texas; and (d) Person 1 never intended at any time to relocate to Texas to

run Dallas Logistics.


       All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.


                                       COUNT 7
                              (Concealment of Material Fact)

                          The Grand Jury Further Charges That:

       1.     The allegations in the Introduction and Count 1 are realleged and incorporated

herein by reference.

       2.     Between on or about April 26, 2016, and on or about May 16, 2016, in the

Western District of New York, the defendant, TONY KIRIK a/k/a Anatoliy Kirik, in a

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matter within the jurisdiction of the executive branch of the Government of the United States,

did knowingly and willfully falsify, conceal and cover up by trick, scheme and device material

facts.

         3.     Specifically, KIRIK directed and caused Person 2 and others, known and

unknown to the Grand Jury, to stage a sham office for Dallas Logistics located at 25 Pixley

Industrial Parkway, Gates, New York, to conceal from the FMCSA the material facts (a) that

Dallas Logistics was affiliated and associated with KIRIK and his trucking business, including

Orange Transportation Services and other FMCSA regulated entities, and (b) that Dallas

Logistics was actually located and operated from KIRIK’s trucking business at 105

McLaughlin Road, Rochester, New York.


         All in violation of Title 18, United States Code, Sections 1001(a)(1) and 2.


                                          COUNT 8
                                 (Aggravated Identity Theft)

                           The Grand Jury Further Charges That:

         1.     The allegations in the Introduction and Counts 1 and 2 are realleged and

incorporated herein by reference.

         2.     On or about April 25, 2016, during and relation to a felony violation

enumerated in Title 18, United States Code, Section 1028A(c), that is, violation of Title 18,

United States Code, Section1001(a)(3) as alleged in Count 2 of this Indictment, the defendant,

TONY KIRIK a/k/a Anatoliy Kirik, did knowingly transfer, possess and use, without lawful

authority, a means of identification of another person, that is, the name of Person 1.

         All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.
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     DATED: Rochester, New York, April 22, 2021.

                                    JAMES P. KENNEDY, JR.
                                    United States Attorney


                              BY:   s/JOHN J. FIELD
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A TRUE BILL:


s/Foreperson
FOREPERSON




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